Case 1:19-cr-00254-ALC Document 18 Filed 05/15/19 Page 1 eR | 5 N A L.

AO 98 (Rev. 12/11} Appearance Bond

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Southern District of New York | DOCH:

      

  
 

UNITED STATES DISTRICT ©

for the

 

 

 

United States of America ) bare n ILED: MAY 1 2 ) 2019
Vv. ) Lm EES So SEE aici ace
)
____ REGINALD FOWLER ) §(1)19¢r254 ALC
Defendant )
APPEARANCE BOND
Defendant’s Agreement
I, REGINALD FOWLER (defendant), agree to follow every order of this court, or any

 

court that considers this case, and I further agree that this bond may be forfeited if I fail:
({X] } to appear for court proceedings;
( Dd ) if convicted, to surrender to serve a sentence that the court may impose; or
( BJ ) to comply with all conditions set forth in the Order Setting Conditions of Release.

 

 

Type of Bond
( &1) (1) This is a personal recognizance bend.
(  ) @) This is an unsecured bond of $
(4) (3) This is a secured bond of $ 5,000,000.00 , secured by:
(OjD@s | _____, in cash deposited with the court.

( E) (b) the agreement of the defendant and each surety to forfeit the following cash or other property

(describe the cash or other property, including claims on it — such as a lien, mortgage, or loan — and attach proof of
ownership and value}:

a, 3965 Bayamon Street, Las Vegas,
Nevada

b, 8337 Brittany Harbor Drive, Las Vegas,
Nevada

c. 4670 Slippery Rock Drive, Fort Worth,
Texas

d, 4417 Chaparral Creek Drive, Fort
Worth, Texas

e. 8821 Friendswood Drive, Fort Worth,
Texas

 

 

 

 

If this bond is secured by real property, documents to protect the secured interest may be filed of record.

(LI) (c) a bail bond with a solvent surety (attach a copy of the bail bond, or describe it and identify the surety):

 

 

 

 

 

 
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AO 98 (Rev. 12/11) Appearance Bond

Forfeiture or Release of the Bond

Forfeiture of the Bond. This appearance bond may be forfeited if the defendant does not comply with the above
agreement. The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond, if the defendant does not comply with the agreement. At the request of the United States, the court
may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
interest and costs.

Release of the Bond. The court may order this appearance bond ended at any time. This bond will be satisfied and the
security will be released when either: (1) the defendant is found not guilty on all charges, or (2) the defendant reports to
serve a sentence,

Declarations

Ownership of the Property. 1, the defendant — and each surety — declare under penalty of perjury that:

(1) all owners of the property securing this appearance bond are included on the bond,
(2) the property is not subject to claims, except as described above; and
(3) I will not sell the property, allow further claims to be made against it, or do anything to reduce its value

while this appearance bond is in effect.

Acceptance. 1, the defendant — and each surety — have read this appearance bond and have either read all the conditions of
release set by the court or had them explained to me. I agree to this Appearance Bond.

I, the defendant — and each surety — declare under penalty of perjury that this information is true. (See 28 U.S.C.§ 1746.)

 

Date:

 

 

” 7 Defendant's signature - REGINALD FOWLER

 

 

 

Surety/property owner — printed name Surety/property owner —- signature and date

Surety/property owner — printed name Surety/property owner ~ signature and date

Surety/property owner — printed name Surety/praperty owner — signature and date
CLERK OF COURT

py ——

Signature of Clerk or Deputy Clerk -

Date:

 
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Page 2

AG 98 (Rev 12/11) Appearance Bond

 

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Declarations

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Acceptance. I, the defendant — and each surety — have read this appearance bond and have either read all the conditions of
release set by the court or had them explained to me. I agree to this Appearance Bond.

1, the defendant — and each surety — declare under penalty of perjury that this information is true, (See 28 U.S.C.§ 1746.)

Date: 15,
Moly hour le

“Bufety/property owner — printed nante

Lovi_ Fowle/

 

a Defendtay ‘Ssignature - REGINALD FOWLER

 

 

 

Surety/property owner — printed name Surety/property owner — signature and date
Surety/property owner — printed name Surety/property owner ~ signature and date
CLERK OF COURT

pate: OS y ' L—— /

— Signature of Clerk’ar Deputy Clerk -

 
Case 1:19-cr-00254-ALC Document 18 Filed 05/15/19 Page 4 of 11

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AO 98 (Rev. 12/1 f) Appearance Bond

ft 7 AUSA signature— *

  

Approved.

     

Date:

 

 

 
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AO 199A (Rev. 12/11} Order Setting Conditions of Release Pagelof  —s—s_—s—séPages

 

UNITED STATES DISTRICT COURT

for the
Southern District of New York

United States of America

Vv.
Case No. $(1)19er254
REGINALD FOWLER

Defendant

 

ORDER SETTING CONDITIONS OF RELEASE
If IS ORDERED that the defendant’s release is subject to these conditions:
(1) The defendant must not violate federal, state, or local law while on release.
(2) The defendant must cooperate in the collection ofa DNA sample if it is authorized by 42 U.S.C. § 14135a.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
the court may impose.

The defendant must appear at:

 

Place

 

on

 

Date and Time

If blank, defendant will be notified of next appearance.

(5) The defendant must sign an Appearance Bond, if ordered,

 
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AO 199B (Rev. 12/F1) Additional Conditions of Release Page of _ Pages

ADDITIONAL CONDITIONS OF RELEASE

{t 1S FURTHER ORDERED that the defendant’s release is subject to the conditions marked below:

(CJ) (6) The defendant is placed in the custody of:
Person or organization

 

Address (only ifabove is an organization) -
City and state Tel, No.

 

 

who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant’s appearance at all court proceedings, and (c} notify the court
immediately if the defendant violates a condition of release or is no longer in the custodian’s custody.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Signed: . . /
Custodian Date
(BJ) (7) The defendant must:

{ } (a) submit to supervision by and report for supervision te the PRETRIAL SERVICES 2
telephone number _ , ne later than ,

() ¢b)} continue or actively seek employinent, ~

(C1) (c) continue or start an education program,

(EX) ) ¢d) surrender any passport to: PRETRIAL SERVICES

(£)} (ec) not obtain a passport or other international travel document. —

(D4) (f) abide by the following restrictions on personal association, residence, or travel: = SDNY/EDNY/DISTRICT OF ARIZONA

additional domestic travel subject to PTS approval . a

(EX) ) (2) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
including:

(4) th) ‘get medical or psychiatric treatment: _

(LO) @ ‘return to custody each - at o’clock after being released at — o’clock for employment, schooling, *
or the following purposes;

(CJ) G) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
necessary. ,

{ ) (k) not possess a firearm, destructive device, or other weapon,

(C1) () not use alcohol ( (] jatali( (1) ) excessively.

(C1) Gm) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
medical practitioner.

( } {n) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with
random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of
prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and
accuracy of prohibited substance screening or testing.

( ) (0) patticipate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
supervising officer.

( +) (p} participate in one of the following location restriction programs and comply with its requirements as directed.

(C1) (i) Curfew. You are restricted to your residence every day ( L]}from to or (C1 Jas
directed by the pretrial services office or supervising officer, or

(4) (iid) Home Detention. You are restricted to your residence at all times except for employment; education; religious services;
medical, substance abuse, or mental health treatment; attorney visits, court appearances; court-ordered obligations; or other
activities approved in advance by the pretrial services office or supervising officer; or

(1]) Gil) Wome Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
court appearances or other activities specifically approved by the court.

(11) (q) submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the program
requirements and instructions provided,

(C7) ) You must pay all or part of the cost of the program based on your ability to pay as determined by the pretrial services office or
supervising officer.

({]} (report as soon as possible, to the pretrial services office or supervising officer, every contact with law enforcement personnel, including

arrests, questioning, or traffic stops.
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ADDITIONAL CONDITIONS OF RELEASE
(BJ) (3) $5 million personal recognizance bond, secured by two financially responsible co-signers
and the following real property:
a. 3965 Bayamon Street, Las Vegas, Nevada
b. 8337 Brittany Harbor Drive, Las Vegas, Nevada
c. 4670 Slippery Rock Drive, Fort Worth, Texas
d. 4417 Chaparral Creek Drive, Fort Worth, Texas
e. 8821 Friendswood Drive, Fort Worth, Texas
Travel restricted to the Southern District of New York, the Eastern District of New York,
and the District of Arizona, with additional domestic travel subject to approval by Pretrial
Services ("PTS")
Surrender of all travel documents and no new applications
PTS supervision as directed by PTS
No new lines of credit without PTS approval

 

 
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AQ 199C (Rev. 09/08) Advice of Penalties Page of Pages

ADVICE OF PENALTIES AND SANCTIONS

 

TO THE DEFENDANT: REGINALD FOWLER 19cr254 ALC DEFENDANT RELEASED 5); / 5 /; f
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, 4 fine, or both,

While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten

years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year, This sentence will be
consecutive (/.e., in addition to) to any other sentence you receive.

It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or
attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or
intimidation are significantly more serious if they involve a killing or attempted killing.

If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of.

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more — you will be fined

not more than $250,000 or imprisoned for not more than 10 years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years — you will be fined not

more than $250,000 or imprisoned for not more than five years, or both;

(3) any other felony - you will be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor — you will be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of the Defendant

1 acknowledge that I am the defendant in this case and that | am aware of the conditions of release. I promise to obey all
conditions of release, to appear as directed, and surrender to serve any sentence imposed, I am aware of the penalties and sanctions
set forth above.

 

 

Defendant's Signature -

City and State

Directions to the United States Marshal

( (1) The defendant is ORDERED released after processing,

( f[]) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the
defendant has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be
produced before the appropriate judge at the time and place specified.

 

dudicial Officer’s Signature

 

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AQ 199C (Rev. 09/08) Advice of Penalties Page si assis
DISTRIBUTION: COURT DEFENDANT PRETRIALSERVICE U.S.ATTORNEY — U.S. MARSHAL

Southern District of New York

The Bronx
Manhattan
Westchester
Reckland
Eutchess
Orange
Putnant
Sullivan

  
 
 
 
 
 
 
 
 
 
 
 
   

Eastern District of New York

Ercoklyn (Kinds County)
Cueens (Queens County)
Staten island (Rrchinend County}
Long Island (Nassau & Suffctk)

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MEMO ENDORSE

py’ Department of Justice

 

United States Attorney
Southern District of New York

 

The Silvio J. Metlo Building
One Saint Andres 's Plaza
New York, New York 10087

USDC SDNY

DOCUMENT
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DOC#:

BY ECF DATE FILED: D- 37/7
The Honorable Andrew L. Carter, Jr.

United States District Court Judge

Southern District of New York

40 Foley Square

New York, New York 10007

May 8, 2019

Re: United States v. Reginald Fowler, 81 19 Cr, 254 (ALC)
Dear Judge Carter:

The Government writes, with the consent of defense counsel, to request that the Court set
bail conditions, including a bond, in the above-captioned matter. The defendant was arrested on
April 30, 2019 in the District of Arizona. At that time, the Government and defense counsel agreed
to adjourn a detention hearing so that the defendant could prepare a proposed bail package. The
patties have agreed to a proposed bail package, set forth below, which includes a bond secured by
multiple properties. In conversations with prosecutors in Arizona, the Government has learned that
the United States District Court for the District of Arizona does not include secured bonds in bail
packages. Consequently, the prosecutor handling the case in Arizona has requested that any such
bond be entered in the Southern District of New York.

In light of these circumstances, the Government respectfully requests that the Court set the
following bail terms for the defendant:

1, $5 million personal recognizance bond, secured by two financially responsible co-signers
and the following real property:

3965 Bayamon Street, Las Vegas, Nevada

8337 Brittany Harbor Drive, Las Vegas, Nevada
4670 Slippery Rock Drive, Fort Worth, Texas
4417 Chaparral Creek Drive, Fort Worth, Texas
8821 Friendswood Drive, Fort Worth, Texas

eneogR

9. Travel restricted to the Southern District of New York, the Eastern District of New York,
and the District of Arizona, with additional domestic travel subject to approval by Pretrial
Services (“PTS”)

 

 
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3. Surrender of all travel documents and no new applications
4, PTS supervision as directed by PTS
5. No new lines of credit without PTS approval

The parties also request that the time until the arraignment and initial conference be
excluded in the interests of justice, under the Speedy Trial Act, 18 U.S.C, § 3161(h)(7)(A), so that
the defendant can review discovery, consider any potential motions, and engage in plea
negotiations.

The Government has conferred with counsel for the defendant, who joins in all of the above
requests,

Respectfully submitted,

GEOFFREY S. BERMAN
United States Attorney

By: Slock Sark
Jessica Fender / Sheb Swett / David Zhou
Assistant United States Attorneys
Southern District of New York

(212) 637-2276 / 6522 / 2438

ce: James G. McGovern, Esq. (by ECF)
Michael C. Hefter, Esq. (by ECF)

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